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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  IN RE:                                            §        CASE NO. 22-60043
                                                    §
  FREE SPEECH SYSTEMS, LLC                          §        CHAPTER 11
                                                    §
          DEBTOR                                    §

    UNITED STATES TRUSTEE’S WITNESS AND EXHIBIT LIST FOR HEARING
             SCHEDULED FOR SEPTEMBER 20, 2022, AT 1:00 PM

        Kevin M. Epstein, the United States Trustee for the Southern District of Texas (the “U.S.

Trustee”) submits this Witness and Exhibit List for the hearing scheduled for September 20, 2022,

at 1:00 p.m., Central Time (or as such hearing may be continued or rescheduled).


 Case No: 22-60043                                  Name of Debtor:
                                                    Free Speech Systems, LLC




                                                    Judge: Christopher Lopez

                                                    Hearing Date: September 20, 2022
                                                    Hearing Time: 1:00 PM
                                                    Party’s Name: United States Trustee
                                                    Attorney’s Name: Ha M. Nguyen
                                                    Attorney’s Phone: 202-590-7962


                                         WITNESSES

The U.S. Trustee may examine:

   1.   W. Marc Schwartz;
   2.   Kyung S. Lee;
   3.   Any witness called by any other party; and
   4.   Any witness(es) necessary to rebut the testimony of any witness(es) called or designated
        by any other party



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                                  MOTIONS TO BE HEARD

 Application to Employ W. Marc Schwartz and Schwartz Associates LLC as Chief Restructuring
 Officer. (Attachments: # 1 Proposed Order # 2 Exhibit A - Engagement Agreement # 3 Exhibit B
 - Schwartz Declaration # 4 Exhibit C - FSS Company Agreement)

 Application to Employ Shannon & Lee LLP as Bankruptcy Co-Counsel to the Debtor.
 (Attachments: # 1 Proposed Order # 2 Exhibit A - Engagement Agreement # 3 Exhibit B - Lee
 Declaration)

                                           EXHIBITS

                                                                      Admitted/
Ex.
                   Description                  Offered   Objection     Not       Disposition
 #
                                                                      Admitted

1.    Free Speech System LLC’s Schedules
      [Dkt. No. 121]


      Free Speech Systems LLC’s Statement
2.
      of Financial Affairs [Dkt. No. 122]


      InfoW Debtors’ Application to Employ
      Kyung S. Lee PLLC as Bankruptcy
3.
      Counsel Effective as of May 16, 2022
      [Dkt. No. 97 in Case No. 22-60020]


      InfoW Debtors’ Emergency
      Application for Interim and Final
      Orders (a) Authorizing the
      Employment of W. Marc Schwartz as
      Chief Restructuring Officer, (b)
4.
      Authorizing Employment of Staff of
      Schwartz Associates, LLC in
      Discharge of Duties as Chief
      Restructuring Officer, and (c) Granting
      Related Relief


      E-Mails between Jayson Ruff, Kyung
5.
      Lee, and others re: Dates relating to
      Motion to Dismiss


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      InfoW Debtors’ Emergency Motion to
      (a) Extend Answer Date, (b) Extend
      Exhibit Designation Date, (c) Toll
6.    Discovery Deadlines, (d) Continue
      Hearing on Motions to Dismiss and (e)
      Grant Related Relief [Dkt. No. 95 in
      Case No. 22-60020]


      InfoW Debtors’ Omnibus Response to
7.    Motions to Dismiss [Dkt. No. 112 in
      Case No. 22-60020]


      Free Speech Systems, LLC’s
      Application to Employ W. Marc
8.
      Schwartz as Chief Restructuring
      Officer [Dkt. No. 83]


      Free Speech Systems, LLC’s
9.    Application to Employ Shannon & Lee
      as Bankruptcy Co-Counsel [Dkt. No.
      85]


      Pre-petition billing invoices for
10.   KSLPLLC from 5.24.22 to 5.31.22
      (Free Speech Systems)


      Pre-petition billing invoices for
11.   Shannon & Lee LLP from 6-1-22 to 6-
      30-22 (Free Speech Systems, LLC)


      Detailed time report for Schwartz
12.
      Associates from 5-24-22 to 6-08-22
      (Free Speech Systems, LLC)


      Detailed time report for Schwartz
13.   Associates from 5-01-22 to 6-09-22
      (InfoW Debtors)


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14.   Transcript of Hearing May 19, 2022


15.   Transcript of Hearing August 3, 2022


16.   Demonstrative Exhibit of Timeline

      Any exhibit introduced by any other
17.
      party
      Any exhibit identified or offered by
18.
      any other party



 The U.S. Trustee reserves the right to supplement or amend this Witness and Exhibit List at any
 time prior to the Hearing.


                                                    RESPECTFULLY SUBMITTED:
                                                    KEVIN M. EPSTEIN
                                                    UNITED STATES TRUSTEE


 DATED: September 16, 2022                          /s/ HA M NGUYEN
                                                    Ha Nguyen, Trial Attorney
                                                    CA Bar #305411
                                                    FED ID NO. 3623593
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                                                    Office of the United States Trustee
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